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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THERESA MWIMBWA,                                             CIVIL ACTION
              Plaintiff,

                v.

 CSL PLASMA, INC., and                                        NO. 19-4626
 CSL BEHRING, LLC,
                 Defendants.

                                            ORDER

       AND NOW, this 15th day of October, 2020, upon consideration of the Motion to

Dismiss the Complaint filed by CSL Plasma, Inc. and CSL Behring, LLC (collectively,

“defendants”) (Document No. 9, filed December 9, 2019) and the Response in Opposition to

defendants’ Motion to Dismiss the Complaint filed by Theresa Mwimbwa (Document No. 10,

filed December 23, 2019), for the reasons stated in the accompanying Memorandum dated

October 15, 2020, IT IS ORDERED that defendants’ Motion to Dismiss the Complaint is

GRANTED WITHOUT PREJUDICE to plaintiff’s right to file an amended complaint within

fourteen days of the date of this Order if warranted by the facts and applicable law as stated in

the accompanying Memorandum.

                                                      BY THE COURT:

                                                      /s/ Hon. Jan E. DuBois

                                                         DuBOIS, JAN E., J.
